         Case 3:18-cv-01496-JD        Document 140      Filed 02/05/25   Page 1 of 3



 1 Nicomedes Sy Herrera (State Bar No. 275332)
   Shawn M. Kennedy (State Bar No. 218472)
 2 Bret D. Hembd (State Bar No. 272826)
   Laura E. Seidl (State Bar No. 269891)
 3 HERRERA KENNEDY LLP
   1300 Clay Street, Suite 600
 4 Oakland, California 94612
   Telephone: (510) 422-4700
 5 Facsimile: (855) 969-2050
   Email: NHerrera@HerreraKennedy.com
 6        SKennedy@ HerreraKennedy.com
          BHembd@ HerreraKennedy.com
 7        LSeidl@ HerreraKennedy.com
 8 Attorneys for Plaintiff-Relator Zachary Silbersher

 9 [Additional Counsel on the Signature Page]

10                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
11                             SAN FRANCISCO DIVISION
12 UNITED STATES OF AMERICA;                            Case No.: 3:18-cv-01496-JD
   STATES OF CALIFORNIA, COLORADO,
13 CONNECTICUT, DELAWARE,
   FLORIDA, GEORGIA, HAWAII,
14 ILLINOIS, INDIANA, IOWA,
   LOUISIANA, MICHIGAN, MINNESOTA,
15 MONTANA, NEVADA, NEW JERSEY,
   NEW MEXICO, NEW YORK, NORTH                          PLAINTIFF-RELATOR’S
16 CAROLINA, OKLAHOMA, RHODE                            CERTIFICATION OF
   ISLAND, TENNESSEE, TEXAS,                            INTERESTED ENTITIES OR
17 VERMONT, AND WASHINGTON; THE                         PERSONS PURSUANT TO CIVIL
   COMMONWEALTHS OF                                     LOCAL RULE 3-15
18 MASSACHUSETTS AND VIRGINIA;
   AND THE DISTRICT OF COLUMBIA,
19
   ex rel. ZACHARY SILBERSHER,
20
                  Plaintiffs,
21
             v.
22
   VALEANT PHARMACEUTICALS
23 INTERNATIONAL, INC., VALEANT
   PHARMACEUTICALS
24 INTERNATIONAL, SALIX
   PHARMACEUTICALS, LTD., SALIX
25 PHARMACEUTICALS, INC., AND DR.
   FALK PHARMA GMBH,
26
                  Defendants.
27

28

     L.R. 3-15 CERTIFICATION OF INTERESTED                           NO. 3:18-CV-01496-JD
     ENTITIES OR PERSONS
          Case 3:18-cv-01496-JD          Document 140         Filed 02/05/25      Page 2 of 3



 1          Plaintiff-Relator Zachary Silbersher hereby submits the following Certification of Interested

 2 Entities or Persons, which amends and supplements Relator’s prior certification filed as ECF No. 34.

 3          Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed persons,

 4 associations of persons, firms, partnerships, corporations (including, but not limited to, parent

 5 corporations), or other entities (i) have a financial interest in the subject matter in controversy or in a

 6 party to the proceeding, or (ii) have a non-financial interest in that subject matter or in a party that could

 7 be substantially affected by the outcome of this proceeding:

 8          1. TRGP Operating Company, LP and TRGP Operating Company II, LP.

 9          2. Flat Line Capital, LLC.

10          None of the foregoing interested entities or persons have any right to exercise any control over,

11 or make any decisions with respect to, this litigation.

12 Dated: February 5, 2025                          HERRERA KENNEDY LLP

13

14                                                                                 ____________

15                                                  By: Nicomedes Sy Herrera
16                                                  Nicomedes Sy Herrera (State Bar No. 275332)
                                                    Shawn M. Kennedy (State Bar No. 218472)
17                                                  Bret D. Hembd (State Bar No. 272826)
                                                    Laura E. Seidl (State Bar No. 269891)
18                                                  1300 Clay Street, Suite 600
                                                    Oakland, California 94612
19                                                  Telephone: (510) 422-4700
                                                    Facsimile: (855) 969-2050
20                                                  Email: NHerrera@HerreraKennedy.com
                                                           SKennedy@HerreraKennedy.com
21                                                         BHembd@HerreraKennedy.com
                                                           LSeidl@HerreraKennedy.com
22
                                                    SPARACINO PLLC
23                                                  Tejinder Singh (pro hac vice)
                                                    1920 L Street, NW, Suite 835
24                                                  Washington, DC 20036
                                                    Telephone: (202) 629-3530
25                                                  Email: Tejinder.Singh@sparacinopllc.com
26

27

28
                                                        -1-
     L.R. 3-15 CERTIFICATION OF INTERESTED                                       CASE NO. 3:18-CV-01496-JD
     ENTITIES OR PERSONS
         Case 3:18-cv-01496-JD   Document 140      Filed 02/05/25    Page 3 of 3



                                         BURNS CHAREST LLP
 1                                       Warren T. Burns (pro hac vice)
                                         Christopher Cormier (pro hac vice)
 2                                       Matthew Strauser (pro hac vice)
                                         900 Jackson Street, Suite 500
 3                                       Dallas, TX 75202
                                         Tel: (469) 904-4550
 4                                       Fax: (469) 444-5002
                                         Email: wburns@burnscharest.com
 5                                               ccormier@burnscharest.com
                                                 mstrauser@burnscharest.com
 6
                                         Attorneys for Plaintiff-Relator Zachary Silbersher
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                             -2-
     L.R. 3-15 CERTIFICATION OF INTERESTED                           CASE NO. 3:18-CV-01496-JD
     ENTITIES OR PERSONS
